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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:15CR61
                              )
          v.                  )
                              )
MATTHEW M. LEONARD and        )                      ORDER
DAVID E. LEONARD,             )
                              )
               Defendants.    )
______________________________)


           This matter is before the Court on the findings and

recommendations of the magistrate judge contained in the

transcript (Filing No. 49), in which the magistrate judge

recommends that defendants’ motions to suppress (Filing No. 36

for Matthew Leonard; Filing No. 37 for David Leonard) should be

denied.   The Court has reviewed the transcript of the evidence

received by the magistrate judge and notes no objections have

been filed.    The Court finds that the magistrate judge’s findings

and recommendations should be approved and adopted by the Court.

Accordingly,

           IT IS ORDERED:

           1) The findings and recommendations of the magistrate

judge are approved and adopted.

           2) The motion to suppress of Matthew Leonard is denied.

           3) The motion to suppress of David Leonard is denied.
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          4) Trial of this matter is scheduled for:

                Monday, November 9, 2015, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     This will give the parties time to

pursue plea negotiations or prepare for trial, and it will

accommodate the schedule of the Court.          The ends of justice will

be served by continuing this case and outweigh the interests of

the public and the defendant in a speedy trial.             The additional

time between October 5, 2015, and November 9, 2015, shall be

deemed excludable time in any computation of time under the

requirement of the Speedy Trial Act.         18 U.S.C. § 3161(h)(8)(A)

& (B).

          DATED this 5th day of October, 2015.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ___________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
